LF 7016-1 (5/16)


                          UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF WASHINGTON

In re:                                       )        Case No. 24-01519-FPC11
1 Min, LLC; Hotel at Southport, LLC; and )
Twelfth Floor, LLC,                          )
                             Debtor(s)       )        Adv. Proc. No. 25-80007-FPC
Lan Cai, Shujie Chen, Tianran Chen, Weijun )
Chen, Jie Chu, Zhaojun Cong, He Cui,         )
Jianying Ding, Jichun Du, Qing Du, Jieying )
Feng, Yupeng Gao, Yiran Han, Jinyang Hu, )
Naixin Hu, Xiao Huang, Junmei Jin, Xin       )
Meng, Weihong Lu, Yuanyuan Ma, Min           )
Pan, Lei Pei, Hao Qi, Xiao Rong, Juan Shao, )
Hui Wang, Jingyi Wang, Yuquan Wang,          )
Zidong Wang, Rongrong Wu, Zhaohui Xu, )
Qi Xu, Jie Yan, Ke Yang, Qin Yang,           )
Hongyun Yu, Shuxian Zeng, Xiaohong           )
Zhang, Ying Zhao, Minbo Zhou, Nan Zhou, )
Huiqing Zhu, Ziling Zeng, Luyi Zhang,        )
Jundi Liang, Tao Li, Yun Cai, Hongliang      )
Tang, Jie Tang, Wenlung Chen, Shi Zhang, )
Jun Che, Dahe Zhang, Shan Wan, Xiaohong )
Sun, Yan Lyu a/k/a Yan Lu, Wenyan Wang, )
Jialin Tian, Rui Tang, Xinhan Lin, Siyu Liu, )
Jianying Meng, Phuong Nguyen, Yeqing         )
Pan, Xuerong Qi, Qiang Wang, Junli Wei, )
Yunfei Wu, Hongying Yu, Dongli Zhang, )
                             Plaintiff(s)    )        NOTICE OF SCHEDULING
  v.                                         )        CONFERENCE
Hotel at Southport, LLC, Twelfth Floor,      )
LLC, 1 Min LLC.,
                             Defendant(s) )

PLEASE TAKE NOTICE THAT a scheduling conference has been set for March 25, 2025 at
1:30 PM on the above entitled adversary proceeding for the purpose of addressing matters
contemplated by FRCP 16(b).

PLEASE FURTHER TAKE NOTICE THAT:

The attorney for the plaintiff shall provide a copy of this notice to all opposing parties or their
attorneys;

The parties shall confer as required by FRCP 26(f). In accordance with that rule, but in no event
no less than five (5) days prior to the date set for the scheduling conference, the attorneys of
record shall file a written report as contemplated by FRCP 26(f).



NOTICE OF SCHEDULING CONFERENCE - 1

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Each party shall also certify that he or she considered mediation to resolve the dispute by filing
ADR Form 2, Certificate of Compliance with LBR 9019-2.

The scheduling conference will be held by telephone conference. To be included on the
scheduling conference, each party must call Zoomgov.com or call 669-254-5252, Meeting ID:
160 692 2376 at the designated time referred to above. If you should have any questions, please
call Jolene Britton at (509) 458-5346.

The written report is due no later than March 20, 2025.

Dated: February 3, 2025
                                             Clerk, U.S. Bankruptcy Court
                                              by: /s/ Tyler Lindsey
                                              Deputy Clerk




NOTICE OF SCHEDULING CONFERENCE - 2

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